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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                                                   § CASE NUMBER 6:12-CR-00058(6)-RC
 v.                                                §
                                                   §
                                                   §
 CODY FRANCIS ORMOND                               §
                                                   §




              ORDER ADOPTING REPORT AND RECOMMENDATION OF
                     UNITED STATES MAGISTRATE JUDGE

        The above entitled and numbered criminal action was referred to United States

 Magistrate Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of Magistrate

 Judge John D. Love which contains his proposed findings of fact and recommendations for the

 disposition of such action has been presented for consideration. The parties have waived their

 objections to the Report and Recommendation.

        The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct. Therefore, the Court hereby adopts the Report of the United States Magistrate Judge as

 the findings and conclusions of this Court and ORDERS that Defendant Cody Francis Ormond

 be committed to the custody of the Bureau of Prisons for a term of imprisonment of 12 months

 and 1 day with no supervised release to follow, with the term of imprisonment to retroactively

 begin on November 1, 2016. The Court RECOMMENDS that drug treatment be provided to

 Defendant during the term of imprisonment and that the place of confinement be FMC

 Rochester, Minnesota in order to facilitate family visitation and address a medical condition.
           So ORDERED and SIGNED this 30 day of December, 2016.




                                                  ___________________________________
                                                  Ron Clark, United States District Judge
